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  5
      Attorney(s) for Plaintiff Rothschild Broadcast Distribution Systems, LLC
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  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9

 10
       ROTHSCHILD BROADCAST
       DISTRIBUTION SYSTEMS, LLC,                   CASE NO.: 2:20-cv-05138
 11
                          Plaintiff,
 12                                                 COMPLAINT FOR PATENT
       v.                                           INFRINGEMENT
 13

 14    QUIBI, LLC,                              ,
                                                    JURY TRIAL DEMANDED
 15                       Defendant.
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 18         Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or
 19
      “Rothschild Broadcast Distribution Systems”) files this complaint against Quibi, LLC
 20

 21   (“Hallmark”) for infringement of U.S. Patent No. 8,856,221 (hereinafter the “`221

 22   Patent”) and alleges as follows:
 23
                                            PARTIES
 24

 25         1.     Plaintiff is a Texas limited liability company with an office at 1801 NE

 26   123 Street, Suite 314, Miami, FL 33181.
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                        PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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            2.     On information and belief, Defendant is a Delaware limited liability

  2   company, with a place of business at 6555 W. Barton Ave., Los Angeles, CA 90038.
  3
      On information and belief, Defendant may be served through its agent, National
  4

  5   Registered Agents, Inc., 1209 Orange Street, Wilmington, DE 19801.

  6                                  JURISDICTION AND VENUE
  7
            3.     This action arises under the patent laws of the United States, 35 U.S.C. §
  8

  9   271 et seq. Plaintiff is seeking damages, as well as attorney fees and costs.

 10         4.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal
 11
      Question) and 1338(a) (Patents).
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 13         5.     On information and belief, this Court has personal jurisdiction over
 14   Defendant because Defendant has committed, and continues to commit, acts of
 15
      infringement in this District, has conducted business in this District, and/or has engaged
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 17   in continuous and systematic activities in this District.
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            6.     Upon information and belief, Defendant’s instrumentalities that are
 19
      alleged herein to infringe were and continue to be used, imported, offered for sale,
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 21   and/or sold in the District.
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            7.     Venue is proper in this District under 28 U.S.C. §1400(b) because
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      Defendant is deemed to be a resident in this District. Alternatively, acts of infringement
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 25   are occurring in this District and Defendant has a regular and established place of
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      business in this District.
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                         PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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  1
                                           BACKGROUND

  2         8.       On October 7, 2014, the United States Patent and Trademark Office
  3
      (“USPTO”) duly and legally issued the `221 Patent, entitled “System and Method for
  4

  5   Storing Broadcast Content in a Cloud-Based Computing Environment” after the

  6   USPTO completed a full and fair examination. The ‘221 Patent is attached as Exhibit
  7
      A.
  8

  9         9.       Rothschild Broadcast Distribution Systems is currently the owner of the

 10   `221 Patent.
 11
            10.      Rothschild Broadcast Distribution Systems possesses all rights of
 12

 13   recovery under the `221 Patent, including the exclusive right to recover for past, present
 14   and future infringement.
 15
            11.      The `221 Patent contains thirteen claims including two independent claims
 16

 17   (claims 1 and 7) and eleven dependent claims.
 18
                                         COUNT ONE
 19
                       (Infringement of United States Patent No. 8,856,221)
 20
            12.      Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the
 21

 22   same as if set forth herein.
 23
            13.      This cause of action arises under the patent laws of the United States and,
 24
      in particular under 35 U.S.C. §§ 271, et seq.
 25

 26         14.      Defendant has knowledge of its infringement of the `221 Patent, at least
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      as of the service of the present complaint.
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                          PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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            15.      Upon information and belief, Defendant has infringed and continues to

  2   infringe one or more claims, including at least Claim 7, of the ‘221 Patent by making,
  3
      using, importing, selling, and/or offering for media content storage and delivery
  4

  5   systems and services covered by one or more claims of the ‘221 Patent.

  6         16.      Accordingly, Defendant has infringed, and continues to infringe, the `221
  7
      Patent in violation of 35 U.S.C. § 271.
  8

  9         17.      Defendant sells, offers to sell, and/or uses media content storage and

 10   delivery systems and services, including, without limitation, the Quibi streaming
 11
      platform, and any similar products (“Product”), which infringes at least Claim 7 of the
 12

 13   ‘221 Patent.
 14         18.      The Product practices a method of storing (e.g., cloud storage) media
 15
      content (e.g. and recorded music) and delivering requested media content to a consumer
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 17   device. Certain aspects of these elements are illustrated in the screenshots below and/or
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      in those provided in connection with other allegations herein.
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                         PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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                     PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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            19.    The Product necessarily includes a receiver configured to receive a request
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 19
      message including data indicating requested media content (e.g., the Product must have

 20   infrastructure to receive a request to store recorded media content or to stream recorded
 21
      media content on a smartphone; additionally, the request message must contain data
 22

 23
      that identifies the content to be stored or streamed) and a consumer device identifier

 24   corresponding to a consumer device (e.g., the user credentials are used to access the
 25
      contents of the Product). Certain aspects of these elements are illustrated in the
 26

 27
      screenshots below and/or in those provided in connection with other allegations herein.

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                        PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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                     PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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                     PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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 16         20.    The at least one server necessarily determines whether the consumer
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      device identifier corresponds to the registered consumer device (e.g., a user must be a
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      registered user to access the Product’s services). Certain aspects of these elements are
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 20   illustrated in the screenshots below and/or in those provided in connection with other
 21
      allegations herein.
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                        PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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              21.    The Product provides for both media downloads and/or storage, and media

    2   streaming. After a successful login, the Product necessarily determines whether the
    3
        request received from a customer is a request for storage (e.g., recording or storing
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    5   content) or content (e.g., streaming of media content). Certain aspects of these elements

    6   are illustrated in the screenshots below and/or in those provided in connection with
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        other allegations herein.
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                          PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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              22.    The Product verifies that media content identified in the media data of the

   19   storage request message (e.g., request to record content) is available for storage in order
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        to prevent data errors that would result from attempting to store content that is not
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   22
        available for storage. The Product must verify that the media content (e.g. specific

   23   recording) identified in the media data of the storage request message is available for
   24
        storage in order to prevent data errors that would result from attempting to store content
   25

   26   that is not available for storage (e.g., the product must verify a user’s ability to store

   27   video is limited to a certain amount of memory usage based upon their subscription;
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                          PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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        thus media content may not be available for storage if a user is already above their

    2   memory limit or if the user has not subscribed to any service). Certain aspects of these
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        elements are illustrated in the screenshots below and/or in those provided in connection
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    5   with other allegations herein.

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                          PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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   16         23.   If a customer requests content (e.g., live streaming of media content), then
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        a processor within the Product necessarily initiates delivery of the content to the
   18

   19   customer’s device. The server will initiate delivery of the requested media content to

   20   the consumer device (e.g., stream media content feed to a smartphone or tablet or
   21
        desktop computer) if the request message is a content request message (e.g., request for
   22

   23   live streaming). Certain aspects of these elements are illustrated in the screen shots
   24   below and/or in screen shots provided in connection with other allegations herein.
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                          PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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              24.     The media data time data that indicates a length of time to store the

    2   requested media content (e.g. a user is allowed to store media content for maximum 30
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        days as based upon their subscription level). Certain aspects of these elements are
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    5   illustrated in the screenshots below and/or in those provided in connection with other

    6   allegations herein.
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                          PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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              25.   The server must first determine whether the requested media content exists
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   13   prior to initiating delivery in order to prevent data errors that would result from
   14
        attempting to transmit media content that does not exist (e.g. the product must verify
   15
        that a particular requested data is stored in the cloud). Certain aspects of these elements
   16

   17   are illustrated in the screenshots below and/or in those provided in connection with
   18
        other allegations herein.
   19
              26.    After the processor determines whether the requested media content is
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   21   available, it determines whether there are restrictions associated with the requested
   22
        media content (e.g., subscription level etc.). Certain aspects of these elements are
   23

   24
        illustrated in the screenshots provided in connection with other allegations herein.

   25         27.    Defendant’s actions complained of herein will continue unless Defendant
   26
        is enjoined by this Court.
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                          PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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                 28.   Defendant’s actions complained of herein is causing irreparable harm and

    2   monetary damage to Plaintiff and will continue to do so unless and until Defendant is
    3
        enjoined and restrained by this Court.
    4

    5            29.      The `221 Patent is valid, enforceable, and was duly issued in full

    6   compliance with Title 35 of the United States Code.
    7
                 30.       A copy of the ‘221 Patent, titled “System and Method for Storing
    8

    9   Broadcast Content in a Cloud-based Computing Environment,” is attached hereto as

   10   Exhibit A.
   11
                 31.      By engaging in the conduct described herein, Defendant has injured
   12

   13   Plaintiff and is liable for infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.
   14            32.   Defendant has committed these acts of literal infringement, or
   15
        infringement under the doctrine of equivalents of the `221 Patent, without license or
   16

   17   authorization.
   18
                 33. As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff
   19
        has suffered monetary damages and is entitled to a monetary judgment in an amount
   20

   21   adequate to compensate for Defendant’s past infringement, together with interests and
   22
        costs.
   23
                 34.   Plaintiff is in compliance with 35 U.S.C. § 287.
   24

   25            35.    As such, Plaintiff is entitled to compensation for any continuing and/or
   26
        future infringement of the `221 Patent up until the date that Defendant ceases its
   27
        infringing activities.
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                            PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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    2                                   PRAYER FOR RELIEF
    3
              WHEREFORE, Plaintiff asks the Court to:
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    5         (a)   Enter judgment for Plaintiff on this Complaint on all cases of action

    6   asserted herein;
    7
              (b)     Enter an Order enjoining Defendant, its agents, officers, servants,
    8

    9   employees, attorneys, and all persons in active concert or participation with Defendant

   10   who receives notice of the order from further infringement of United States Patent No.
   11
        8,856,221 (or, in the alternative, awarding Plaintiff running royalty from the time
   12

   13   judgment going forward);
   14         (c)   Award Plaintiff damages resulting from Defendants infringement in
   15
        accordance with 35 U.S.C. § 284;
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   17         (d)   Award Plaintiff such further relief to which the Court finds Plaintiff
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        entitled under law or equity.
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                           PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
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    2                              DEMAND FOR JURY TRIAL
    3
               Plaintiff Rothschild Broadcast Distribution Systems, under Rule 38 of the
    4

    5   Federal Rules of Civil Procedure and L.R. 38-1, requests a trial by jury of any issues

    6   so triable by right.
    7

    8
        Dated: June 10, 2020                   Respectfully submitted,

    9
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                                               (949) 636-1391 (Phone)
   14

   15                                          Attorney(s) for Plaintiff Rothschild
                                               Broadcast Distribution Systems, LLC
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                           PLAINTIFF’S COMPLAINT AGAINST DEFENDANT QUIBI, LLC.
